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 7
                             IN THE UNITED STATES DISTRICT COURT
 8                                FOR THE TERRITORY OF GUAM

 9    UNITED STATES OF AMERICA,                     CRIMINAL CASE NO. CR-18-00010

10                          Plaintiff,
                                                    REQUEST TO APPEAR BY TELEPHONE
11                   vs.                            AT MOTIONS HEARING

12    JOHN D. WALKER,                               Date: August 27, 2018
           aka JON WALKER,                          Time: 9:00 a.m.
13    MARVIN R. REED,
      KENNETH R. CROWE, and
14    PHILLIP T. KAPP,

15                          Defendants.

16          COMES NOW, the United States of America, by through undersigned counsel, and

17   hereby requests the Court to allow the Special Assistant U.S. Attorney Nicholas Coates to appear

18   telephonically at the motions hearing set for August 27, 2018 at 9:00 a.m.

19          RESPECTFULLY SUBMITTED this 17th day of August, 2018.

20                                                       SHAWN N. ANDERSON
                                                         United States Attorney
21                                                       Districts of Guam and the NMI

22                                                By:    /s/ Nicholas Coates
                                                         NICHOLAS COATES
23                                                       Special Assistant U.S. Attorney

24   REQUEST TO APPEAR BY
     TELEPHONE AT MOTIONS
     HEARING - 1
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